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 applications significantly burden the Court’s resources and should only be sought
 when an applicant has a good faith belief that its application may be granted.

 In denying Plaintiff’s prior application, the Court explained in what way Plaintiff
 had failed to meet the applicable standard. Although Plaintiff responded by
 removing one of her original three causes of action, she made minimal effort to
 demonstrate she has a fair chance of success on the merits with respect to the
 remaining two causes of action (for negligent misrepresentation and fraudulent
 misrepresentation). In its Prior Order, the Court noted that Plaintiff cited no case
 law and provided no argumentation concerning justifiable reliance, which is an
 element of both negligent misrepresentation and fraudulent misrepresentation.
 However, in her Renewed Application, Plaintiff added no more than two new
 sentences concerning justifiable reliance. Moreover, these sentences merely restate
 factual allegations that were already presented to the Court in Plaintiff’s original
 application. Plaintiff has again failed to demonstrate even a fair chance of success
 on the merits with respect to these two causes of action.

 Plaintiff’s FAC also adds two new causes of action, for violation of California’s
 False Advertising Law and California’s Unfair Competition Law. However, both
 of these laws concern the actions of businesses. Though the sole defendant in this
 case, BXMEX (“Defendant”), is a business, Plaintiff’s factual allegations focus on
 an individual claiming to be named Lin Feng and claiming to be an employee of
 Tesla rather than an employee of Defendant. It is far from clear why Lin Feng’s
 representations over social media should be attributed to Defendant. Therefore,
 Plaintiff has not demonstrated even a fair chance of success on the merits with
 respect to her two new causes of action.

 For the foregoing reasons, Plaintiff’s Renewed Application is DENIED.

 IT IS SO ORDERED.




 CV-90 (12/02)              CIVIL MINUTES – GENERAL               Initials of Deputy Clerk CB

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